






Opinion issued May 22, 2003









In The

Court of Appeals

For The

First District of Texas

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NO. 01-03-00418-CV

____________


IN THE INTEREST OF C.R., A Minor Child






On Appeal from the 310th District Court

Harris County, Texas

Trial Court Cause No. 2002-47552






MEMORANDUM  OPINION

	Appellant has filed a motion to dismiss her appeal.  More than 10 days have
elapsed, and no objection has been filed.  No opinion has issued.  Accordingly, the
motion is granted, and the appeal is dismissed.  Tex. R. App. P. 42.1(a)(2).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Justices Hedges, Nuchia, and Keyes.


